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                        Exhibit 1
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From: Chris Janish <chrisj@legal-bay.com>
Sent: Wednesday, May 18, 2022 6:55 PM
To: Jimmy Beltz <jimmy@mustangfunding.com>; Mustang Litigation Funding <customerservice@mustangfunding.com>
Cc: Peter Caravella <pcaravellamd@gmail.com>; 'Peter Caravella (caravellap@yahoo.com)' <caravellap@yahoo.com>
Subject: Legal-Bay Pre-Termination of LOCA

Dear Jimmy and Pete:

In accordance with paragraphs 6(b) and 7 of the Line of Credit Agreement between Legal Bay LLC ("LB"), LBV Funding
LLC and Mustang Specialty Funding I, LLC, dated as of October 1, 2018 (the "Agreement"), LB notifies LBV Funding, LLC
and Mustang Specialty Funding I, LLC that LB shall terminate the Agreement Sixty (60) days after the date that this
notice is sent to each of you by email.

Please direct any questions or comments to LB's counsel, either Joe DiPasquale, JDiPasquale@foxrothschild.com, or Tim
Kebbe, tkebbe@kebbelaw.com.

Thank you,




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limited to the Electronic Communications Privacy Act, 18 USC 2510-2521. If the reader of this message is not the
intended recipient, you are hereby notified that any dissemination, distribution or copying of this communication is strictly
prohibited. If you receive this communication in error, please notify me immediately by electronic-mail reply and delete this
original message. Thank you.




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